                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION


UNITED STATES OF AMERICA

v.                                                CASE NO. 2:11-CR-114-FtM-29SPC

DEBRA ROGGOW


                           PROPOSED JURY INSTRUCTIONS

       The United States of America, by Robert E. O'Neill, United States Attorney for

the Middle District of Florida, requests that the following jury instructions be given during

the Court's charge at the end of the trial of the above-named indictment.


                                                  Respectfully submitted,

                                                  ROBERT E. O'NEILL
                                                  United States Attorney


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U.S. v. DEBRA ROGGOW                                    Case No. 2:11-cr-114-FtM-29SPC



                               CERTIFICATE OF SERVICE

       I hereby certify that on June 5, 2012, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system which will send a notice of electronic

filing to the following:

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                        COURT'S INSTRUCTIONS
                            TO THE JURY



Members of the Jury:

      It is now my duty to instruct you on the rules of law that you must

follow and apply in deciding this case. When I have finished you will go to

the jury room and begin your discussions - - what we call your

deliberations.

      It will be your duty to decide whether the Government has proved

beyond a reasonable doubt the specific facts necessary to find the

Defendant guilty of the crime charged in the indictment.
       GOVERNMENT'S REQUESTED JURY INSTRUCTION NO. 1

                                    2.1
                        Duty To Follow Instructions
                        Presumption Of Innocence

       You must make your decision only on the basis of the testimony and

other evidence presented here during the trial; and you must not be

influenced in any way by either sympathy or prejudice for or against the

Defendant or the Government.

       You must also follow the law as I explain it to you whether you agree

with that law or not; and you must follow all of my instructions as a whole.

You may not single out, or disregard, any of the Court's instructions on the

law.

       The indictment or formal charge against any Defendant is not

evidence of guilt. Indeed, every Defendant is presumed by the law to be

innocent. The law does not require a Defendant to prove innocence or to

produce any evidence at all. The Government has the burden of proving a

Defendant guilty beyond a reasonable doubt, and if it fails to do so you

must find that Defendant not guilty.




                                       2
       GOVERNMENT'S REQUESTED JURY INSTRUCTION NO. 2

                                  2.2
         The Duty to Follow Instructions and the Presumption
           Of Innocence When a Defendant Does Not Testify

      Your decision must be based only on the evidence presented during

the trial. You must not be influenced in any way by either sympathy for or

prejudice against the Defendant or the Government.

      You must follow the law as I explain it – even if you do not agree with

the law – and you must follow all of my instructions as a whole. You must

not single out or disregard any of the Court's instructions on the law.

      The indictment or formal charge against a Defendant isn’t evidence of

guilt. The law presumes every Defendant is innocent. The Defendant

does not have to prove [his] [her] innocence or produce any evidence at all.

A Defendant does not have to testify, and if the Defendant chose not to

testify, you cannot consider that in any way while making your decision.

The Government must prove guilt beyond a reasonable doubt. If it fails to

do so, you must find the Defendant not guilty.




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       GOVERNMENT'S REQUESTED JURY INSTRUCTION NO. 3

                                    3
                     Definition Of Reasonable Doubt

      Thus, while the Government's burden of proof is a strict or heavy

burden, it is not necessary that a Defendant's guilt be proved beyond all

possible doubt. It is only required that the Government's proof exclude any

"reasonable doubt" concerning the Defendant's guilt.

      A "reasonable doubt" is a real doubt, based upon reason and

common sense after careful and impartial consideration of all the evidence

in the case.

      Proof beyond a reasonable doubt, therefore, is proof of such a

convincing character that you would be willing to rely and act upon it

without hesitation in the most important of your own affairs. If you are

convinced that the Defendant has been proved guilty beyond a reasonable

doubt, say so. If you are not convinced, say so.




                                      4
      GOVERNMENT'S REQUESTED JURY INSTRUCTION NO. 4

                                   4
                     Consideration Of The Evidence
                       Direct And Circumstantial
                         Argument Of Counsel

     As I said earlier, you must consider only the evidence that I have

admitted in the case. The term "evidence" includes the testimony of the

witnesses and the exhibits admitted in the record. Remember that

anything the lawyers say is not evidence in the case. It is your own

recollection and interpretation of the evidence that controls. What the

lawyers say is not binding upon you.

     In considering the evidence you may make deductions and reach

conclusions which reason and common sense lead you to make; and you

should not be concerned about whether the evidence is direct or

circumstantial. "Direct evidence" is the testimony of one who asserts

actual knowledge of a fact, such as an eye witness. "Circumstantial

evidence" is proof of a chain of facts and circumstances tending to prove,

or disprove, any fact in dispute. The law makes no distinction between the

weight you may give to either direct or circumstantial evidence.




                                       5
       GOVERNMENT'S REQUESTED JURY INSTRUCTION NO. 5

                                      5
                          Credibility Of Witnesses

      Now, in saying that you must consider all of the evidence, I do not

mean that you must accept all of the evidence as true or accurate. You

should decide whether you believe what each witness had to say, and how

important that testimony was. In making that decision you may believe or

disbelieve any witness, in whole or in part. Also, the number of witnesses

testifying concerning any particular dispute is not controlling.

      In deciding whether you believe or do not believe any witness I

suggest that you ask yourself a few questions:

•     Did the witness impress you as one who was telling the truth?

•     Did the witness have any particular reason not to tell the truth?

•     Did the witness have a personal interest in the outcome of the case?

•     Did the witness seem to have a good memory?

•     Did the witness have the opportunity and ability to observe accurately

      the things he or she testified about?

•     Did the witness appear to understand the questions clearly and

      answer them directly?




                                       6
•   Did the witness's testimony differ from other testimony or other

    evidence?




                                    7
      GOVERNMENT'S REQUESTED JURY INSTRUCTION NO. 6

                                  6.1
                Impeachment - - Inconsistent Statement

     You should also ask yourself whether there was evidence tending to

prove that a witness testified falsely concerning some important fact; or,

whether there was evidence that at some other time a witness said or did

something, or failed to say or do something, which was different from the

testimony the witness gave before you during the trial.

     You should keep in mind, of course, that a simple mistake by a

witness does not necessarily mean that the witness was not telling the truth

as he or she remembers it, because people naturally tend to forget some

things or remember other things inaccurately. So, if a witness has made a

misstatement, you need to consider whether it was simply an innocent

lapse of memory or an intentional falsehood; and the significance of that

may depend on whether it has to do with an important fact or with only an

unimportant detail.




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      GOVERNMENT'S REQUESTED JURY INSTRUCTION NO. 7

                                  6.3
                             Impeachment
                        Inconsistent Statement
            (Defendant Testifies With No Felony Conviction)

     You should also ask yourself whether there was evidence tending to

prove that a witness testified falsely concerning some important fact; or,

whether there was evidence that at some other time a witness said or did

something, or failed to say or do something, which was different from the

testimony the witness gave before you during the trial.

     You should keep in mind, of course, that a simple mistake by a

witness does not necessarily mean that the witness was not telling the truth

as he or she remembers it, because people naturally tend to forget some

things or remember other things inaccurately. So, if a witness has made a

misstatement, you need to consider whether it was simply an innocent

lapse of memory or an intentional falsehood; and the significance of that

may depend on whether it has to do with an important fact or with only an

unimportant detail.

     A Defendant has a right not to testify. If a Defendant does testify,

however, you should decide in the same way as that of any other witness

whether you believe the Defendant's testimony.


                                      9
       GOVERNMENT'S REQUESTED JURY INSTRUCTION NO. 8

                                      7
                              Expert Witnesses

      When knowledge of a technical subject matter might be helpful to the

jury, a person having special training or experience in that technical field is

permitted to state an opinion concerning those technical matters.

      Merely because such a witness has expressed an opinion, however,

does not mean that you must accept that opinion. The same as with any

other witness, it is up to you to decide whether to rely upon it.




                                       10
       GOVERNMENT'S REQUESTED JURY INSTRUCTION NO. 9

                                   9.1A
                  On Or About - - Knowingly - - Willfully

      You will note that the indictment charges that the offense was

committed "on or about" a certain date. The Government does not have to

prove with certainty the exact date of the alleged offense. It is sufficient if

the Government proves beyond a reasonable doubt that the offense was

committed on a date reasonably near the date alleged.

      The word "knowingly," as that term is used in the indictment or in

these instructions, means that the act was done voluntarily and

intentionally and not because of mistake or accident.

      The word "willfully," as that term is used in the indictment or in these

instructions, means that the act was committed voluntarily and purposely,

with the specific intent to do something the law forbids; that is with bad

purpose either to disobey or disregard the law.




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      GOVERNMENT'S REQUESTED JURY INSTRUCTION NO. 10

                                   10.2
                         Caution - - Punishment
                  (Single Defendant - - Multiple Counts)

      A separate crime or offense is charged in each count of the

indictment. Each charge and the evidence pertaining to it should be

considered separately. The fact that you may find the Defendant guilty or

not guilty as to one of the offenses charged should not affect your verdict

as to any other offense charged.

      I caution you, members of the Jury, that you are here to determine

from the evidence in this case whether the Defendant is guilty or not guilty.

The Defendant is on trial only for those specific offenses alleged in the

indictment.

      Also, the question of punishment should never be considered by the

jury in any way in deciding the case. If the Defendant is convicted the

matter of punishment is for the Judge alone to determine later.




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      GOVERNMENT'S REQUESTED JURY INSTRUCTION NO. 11

                                     11
                             Duty To Deliberate

      Any verdict you reach in the jury room, whether guilty or not guilty,

must be unanimous. In other words, to return a verdict you must all agree.

Your deliberations will be secret; you will never have to explain your verdict

to anyone.

      It is your duty as jurors to discuss the case with one another in an

effort to reach agreement if you can do so. Each of you must decide the

case for yourself, but only after full consideration of the evidence with the

other members of the jury. While you are discussing the case do not

hesitate to reexamine your own opinion and change your mind if you

become convinced that you were wrong. But do not give up your honest

beliefs solely because the others think differently or merely to get the case

over with.

      Remember, that in a very real way you are judges - - judges of the

facts. Your only interest is to seek the truth from the evidence in the case.




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        GOVERNMENT'S REQUESTED JURY INSTRUCTION NO. 12

                                      12
                                    Verdict

        When you go to the jury room you should first select one of your

members to act as your foreperson. The foreperson will preside over your

deliberations and will speak for you here in court.

        A form of verdict has been prepared for your convenience.

                               [Explain verdict]

        You will take the verdict form to the jury room and when you have

reached unanimous agreement you will have your foreperson fill in the

verdict form, date and sign it, and then return to the courtroom.

        If you should desire to communicate with me at any time, please write

down your message or question and pass the note to the marshal who will

bring it to my attention. I will then respond as promptly as possible, either

in writing or by having you returned to the courtroom so that I can address

you orally. I caution you, however, with regard to any message or question

you might send, that you should not tell me your numerical division at the

time.




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      GOVERNMENT'S REQUESTED JURY INSTRUCTION NO. 13

                       Middle District of Florida
                        Controlled Substances
          (Dispensing or Distributing Controlled Substances)
                         21 U.S.C. § 841(a)(1)

     Title 21, United States Code, Section 841(a)(1), which is the Controlled

Substances Act, makes it a federal crime or offense for anyone to unlawfully

distribute or dispense a "controlled substance."

     Morphine is a “controlled substance” within the meaning of the law.

     Fentanyl is a “controlled substance” within the meaning of the law.

     Actiq is a “controlled substance” within the meaning of the law.

     Oxycodone (Brand Name: Roxicodone, Oxycontin, Endocet, Vicadin, or

Percoset) is a “controlled substance” within the meaning of the law.

     Alprazolam (Brand Name: Xanax) is a “controlled substance” within the

meaning of the law.

     Hydromorphone (Brand Name: Dilaudid) is a “controlled substance”

within the meaning of the law.

     Clonazepam (Brand Name: Klonopin) is a “controlled substance” within

the meaning of the law.

     Diazapam (Brand Name: Valuim) is a “controlled substance” within the

meaning of the law.

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      The defendant can be found guilty of that offense if the following facts

are proved beyond reasonable doubt:

      First:      That the defendant distributed or dispensed, or

                  caused to be distributed or dispensed, the controlled

                  substance, as charged; and

      Second:     That the defendant did so knowingly and willfully.

      To "distribute" means to deliver a controlled substance to another

person, with or without any financial interest in the transaction.

      The word "dispense" means to deliver a controlled substance to an

ultimate user or research subject by, or pursuant to a lawful order of, a

practitioner, including the prescribing and administering of a controlled

substance and the packaging, labeling, or compounding necessary to prepare

the substance for delivery.

      The term “practitioner” means a physician, dentist, veterinarian,

scientific investigator, pharmacy, hospital, or other person licensed,

registered, or otherwise permitted, by the United States or the jurisdiction in

which he practices or does research, to distribute, dispense, cause to be

dispensed, conduct research with respect to, administer, or use in teaching




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or chemical analysis, a controlled substance in the course of professional

practice or research.

      A controlled substance is prescribed by a physician in the usual course

of a professional practice and, therefore, lawfully, if the substance is

prescribed by her part of her medical treatment of a patient in accordance with

a standard of medical practice generally recognized and accepted in the

United States. The defendant in this case maintains at all times she acted in

accordance with a standard of medical practice generally recognized and

accepted in the United States in treating her patients.

      Thus a medical doctor has violated section 841(a)(1) when the

government has proved beyond a reasonable doubt that the doctor’s actions

were not for legitimate medical purposes in the usual course of professional

medical practice or were beyond the bounds of professional medical practice.

      I remind you, ladies and gentlemen, that the defendant is not on trial for

medical malpractice and is not charged with acting negligently with respect to

the care of her patients. Again she is charged with knowingly and willfully

prescribing controlled substances to her patients outside the usual course of

professional medical practice in violation of the Controlled Substances Act.




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      GOVERNMENT'S REQUESTED JURY INSTRUCTION NO. 14

                        Middle District of Florida
                         Controlled Substances
                (Proof of Specific Amount Not Required)
                           21 USC § 841(a)(1)

     It is not an element of the offenses charged that the government must

prove a specific amount or weight of the controlled substance involved.




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